                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06 CR 5-2


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )             ORDER
                                                   )
WILLIAM NEAL BOONE,                                )
                                                   )
                  Defendant.                       )
________________________________________           )


        THIS CAUSE coming on to be heard and being heard before the undersigned upon

a Memorandum filed by the United States Probation Office on July 21, 2006. In the

Memorandum, the United States Probation Officer stated the defendant had completed the

Jail Based Inpatient Treatment Program and as a result this matter was scheduled for hearing

before the undersigned to consider whether or not the defendant should be released on terms

and conditions of pretrial release. At the call of this matter on for hearing, it appeared that

the defendant was present with his counsel.

        Findings.    On February 8, 2006 an indictment was presented charging the

defendant with conspiracy to manufacture and possess with intent to distribute a quantity of

methamphetamine. After the arrest of the defendant, the defendant requested that the

detention hearing be continued for an indefinite period of time. An order was entered in

accordance with that request. On April 24, 2006 the defendant entered a plea of guilty to the

charges contained in the Bill of Indictment. The defendant has now completed the Jail Based

Inpatient Treatment Program. The recommendation of the United States Probation Office

is that the defendant remain in custody pending disposition and sentencing. Defendant’s
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counsel asked to be heard in regard to the issue of detention, but acknowledged that the

defendant is presently serving a period of incarceration due to a conviction for attempt to

manufacture methamphetamine from the state of Tennessee and that if the court determined

to release the defendant on terms and conditions of pretrial release, that the defendant would

have to be returned to the state of Tennessee to complete the service of his Tennessee

sentence.

       Discussion. As a result of the evidence that has been presented, the undersigned has

determined that to release the defendant on terms and conditions of pretrial release would be

futile. The defendant would have to be returned to the state of Tennessee to complete service

of his sentence and then returned again to the United States District Court for sentencing.

As a result, the undersigned has determined to enter an order detaining the defendant. In

considering the factors as set forth under 18 U.S.C. § 3142(g) the undersigned finds as

follows:

       1.        The nature and circumstances of the offense charged involve a narcotic drug.

       2.        The weight of the evidence against the defendant appears to be strong and

significant. The defendant has entered a plea of guilty.

       3.        The court cannot make a determination at this time as to the history and

characteristics of the defendant other than the fact that the defendant is serving a period of

incarceration.

       4.        The nature and seriousness of the danger to any other person or the community

that would be posed by the defendant’s release shows that there is some danger due to the

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defendant’s involvement in a methamphetamine conspiracy.           Methamphetamine is an

addictive substance which creates a danger to any other person or the community.

       However, the undersigned has also determined to allow the defendant to come back

at a later time after he has completed service of his Tennessee sentence and to ask for a

hearing in regard to being released on terms and conditions of pretrial release. At that time,

further information should be available to the United States Probation Office so that the

undersigned can consider whether or not to release the defendant on terms and conditions of

pretrial release.

                                          ORDER

       WHEREFORE, it is the ORDER of the court:

       1.      That the defendant be detained.

       2.      That the defendant will be allowed, upon completion of his Tennessee

sentence, to file a motion to asked to be considered to be released on terms and conditions

of pretrial release.

       3.      That the United States Probation Office consult with the defendant and his

attorney regarding the factors as set forth under 18 U.S.C. § 3142(g)(3) and that an amended

United States Pretrial Services Report be prepared based upon that information.




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                                Signed: August 2, 2006




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